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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


MARTY GINSBURG, et al.,                        )
                                               )
            Plaintiff(s),                      )
                                               )
      vs.                                      )          Case No. 4:08CV1375 JCH
                                               )
INBEV NV/SA, et al.,                           )
                                               )
            Defendant(s).                      )

                                        JUDGMENT

       In accordance with the Memorandum and Order entered this day and incorporated herein,

       IT IS HEREBY ORDERED, ADJUDGED and DECREED that Defendants’ Motion

for Judgment on the Pleadings is GRANTED, and Plaintiffs’ claims are dismissed with prejudice.



Dated this 4th day of August, 2009.



                                               /s/ Jean C. Hamilton
                                               UNITED STATES DISTRICT JUDGE
